Case 2:04-cv-02181-.]PI\/|-tmp Document 143 Filed 08/29/05 Page 1 of 9 PF';Q'€E §§ Bv

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FoR THE WESTERN DlsTRICT oF TENNESSEE AUG 2 9 2005

WESTERN DIVISION m M_ am cum

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COMMODITY FUTURES TRADING W- D- OF TN. Mwnphil

COMMISSION,
Plaintiff,
v.

NO. 04-2181 D/An

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FXTRADE FINANCIAL, LLC, et al., )
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Defendants.

 

REPORT AND RECOl\/[MENDATION

 

Before the Court is Plaintiff’s Motion to lmpose Discovery Sanctions Against Defendants
FxTrade Financial, LLC (i‘FxTrade”), Jeffrey A. Mischler (“Mischler"), Mary Jo Sibbitt
(“Sibbitt”), and Reverie LLC (“Reverie”) filed on July 6, 2005. United States District Judge
Bemice B. Donaid referred this matter to the Magistrate Judge for a report and recommendation
For the reasons set forth below, the Court recommends (1) that FxTrade’s Amended Answer be
stricken, (2) that default judgment be entered against FxTrade, (3) that Judge Donald hold a show
cause hearing to determine if Reverie should be held in default, and (4) that FxTrade, Mischler,
Sibbitt and Reverie should be required to pay reasonable expenses to Plaintiff for their failure to
cooperate in the discovery process.

BACKGROUND

Plaintiff Commodity Futures Trading Comrnission (“Plaintiff") filed this action against

multiple Defendants seeking injunctive relief. Plaintiff alleges that Defendants engaged in fraud

and misappropriated customer funds in connection with the solicitation of futures contracts

  
 

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Case 2:04-cv-02181-.]PI\/|-tmp Document 143 Filed 08/29/05 Page 2 of 9 Page|D 183

Beginning in November 2004, the Court handled its first disciplinary matter in this case when
Judge Donald set an Order to Show Cause after the Defendants failed to comply with a Statutory
Restraining Order entered by the Court on March 17, 2004. Judge Donald did not enter sanctions
at the Court’s December 3, 2004 hearing against the Defendants. The Court has also had to deal
with numerous motions to compel filed by Plaintiff against the Defendants in this case. Overall,
Plaintiff has filed six motions to compel against multiple Defendants in this action, and Plaintiff
has filed numerous motions for sanctions.

This specific motion involves four defendants: FxTrade, Mischler, Sibbitt, and Reverie
(collectively “Defendants”). Plaintiff filed a Motion to Compel against Defendants on May 19,
2005, and Defendants failed to respond to the motion. As such, because Defendants did not
respond and for good cause shown, the Court entered an Order granting the Motion to Compel
and directing Defendants to provide initial disclosures and/or revised initial disclosures to
Plaintiff within 11 days of entry of the Order. The Court also imposed sanctions on Defendants
requiring them to reimburse Plaintiff’s counsel for fees and expenses incurred in preparing the
motion to compel.

Although they were ordered to do so by the Court, Defendants have not provided the
initial disclosures and/or the revised initial disclosures required by the Court’s June 15, 2005
Order. Therefore, although Plaintiff’s First Amended Complaint was filed on September 13,
2004, Defendants have yet to complete initial disclosures in this matter. Furthermore,
Defendants have failed to notify Plaintiff when it can expect to receive the initial disclosures
Plaintiff argues in its Motion that FxTrade and Mischler have not responded to any of Plaintiff’s

telephone calls, letters, e-mails or pleadings since April 4, 2005. Sibbitt last communicated With

Case 2:04-cv-02181-.]PI\/|-tmp Document 143 Filed 08/29/05 Page 3 of 9 Page|D 184

Plaintiff on May 19, 2005. Reverie has been even less cooperative Although a summons was
returned executed on Reverie on October 25, 2004, Reverie has yet to file an Answer with the
Court.'

Although responses to the instant motion were due July 25, 2005, none of the four
defendants involved with this motion filed a timely response as required by Local Rule 7.2(a)(2).
“Failure to timely respond to any motion, other than one requesting dismissal of a claim or
action, may be deemed good grounds for granting the motion.” Local Rule 7.2(a)(2).

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I. Legal Standard

The Court has both express power, under Federal Rule of Civil Procedure 37, and
inherent power to impose sanctions for bad faith conduct during discovery. See Fed. R. Civ. P.
37; Chambers v. NASCO, 501 U.S. 32 (1991); Roadway Express, Inc. v. Piper, 447 U.S. 752
(1980). Rule 37 provides two frameworks for the imposition of sanctions First, under
subsections (a) and (b), a party may move for an order to compel discovery. If that motion is
granted and a party refuses or fails to comply with the Court’s Order, the Court may issue a wide
range of sanctions under Rule 37(b), including dismissal of the lawsuit Second, subsection (d)
provides for a less common scenario when sanctions may be imposed even though no prior court
order has been issued. The Court may enter an order for sanctions under Rule 37(d), for
example, if a party fails to attend a deposition or respond to discovery requests Rule 37(d) also

allows the Court to award attomeys’ fees and expenses

 

1Plaintiff states in its Motion that Reverie supplied an Answer to Plaintiff’s First Arnended Complaint to
Plaintiff; however, Reverie has yet to file any such Answer with the Court.

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Case 2:04-cv-02181-.]PI\/|-tmp Document 143 Filed 08/29/05 Page 4 of 9 Page|D 185

The Court may also impose sanctions based on its inherent authority. A court’s inherent
power “is governed not by rule or statute but by the control necessarily vested in courts to
manage their own affairs so as to achieve the orderly and expeditious disposition of cases.” Link
v. Wabash R. Co., 370 U.S. 626, 630-31 (1962); see also Roadway Express, Inc. v. Piper, 447
U.S. 752, 765 (1980). This inherent power includes the Court’s “power to control and supervise
its own proceedings.” Smith v. Northwest Fin. Acceptance, Inc., 129 F.3d 1408, 1419 (lOth Cir.
1997). _

The decision to impose sanctions lies within the sound discretion of the trial court. See
Dillon v. Nissan Motor Co., 986 F.2d 263, 268 (Sth Cir. 1993). Sanctions are “not merely to
penalize those whose conduct may be deemed to warrant such a sanction, but to deter those who
might be tempted to such conduct in the absence of such a deterrent.” Hockey League v.
Merropolitan Hockey Club, Inc., 427 U.S. 639, 643 (1976). “[T]he applicable sanction should be
molded to serve the prophylactic, punitive, and remedial rationales underlying the spoliation
doctrine.” Wesr v. Gooa’year Tt`re & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999).

Dismissal of an action is warranted if the wrongdoing party has committed “flagrant bad
faith.” Jackson v. Nissan Motor Corp., 121 F.R.D. 311, 319 (M.D. Tenn. 1988) (citin`g National
Hockey League v. Metropolitan Hockey Club, Inc., 427 U.S. 639 (1976)). In the Sixth Circuit,
“[d]ismissal is the sanction of last resort. It should be imposed only if the court concludes that
the party’s failure to cooperate in discovery Was willful, in bad faith, or due to its own fault.”
Beil v. Lakewood Engineering & Mfg. Co., 15 F.3d 546, 552 (6th Cir. 1994). The Word “Wiilful”
is defined in Black’s Dictionary to mean “[v]oluntary and intentional, but not necessarily

malicious.” Black’s Dicrionary 1593 (7th ed. 1999). The Sixth Circuit also asks that reviewing

Case 2:04-cv-02181-.]PI\/|-tmp Document 143 Filed 08/29/05 Page 5 of 9 Page|D 186

courts determine if the adversary was prejudiced by a failure to cooperate in discovery, whether a
party was warned that the failure to cooperate could lead to sanctions, and whether less drastic
sanctions were first imposed or considered See Freeland v. Amigo, 103 F.3d 1271, 1277 (6th
Cir. 1997).
II. FxTrade

After a thorough review of the pleadings in this action and careful consideration, the
Court recommends that FxTrade’s Answer should be stricken2 FxTrade has ignored countless
Orders from the Court, including (1) an Order on April 4, 2005 requiring FxTrade to notify the
Court when it retained new counsel, (2) an Order on April 6, 2005 requiring FxTrade to respond
to a motion to compel by April lS, 2005, (3) an Order on May 17, 2005 requiring FxTrade to
completely respond to Plaintiff’s discovery requests, and (4) an Order on June 15, 2005 requiring
FxTrade to provide initial disclosures and/or revised initial disclosures to Plaintiff. Furthermore,
FxTrade has ceased communicating with both the Plaintiff and the Court. FxTrade is not
responding to Motions, is not following the Court’s Orders, and is not responding to letters, e-
mails, telephone calls and pleadings from Plaintiff. Plaintiff goes so far in its Motion to note that
FxTrade last communicated with Plaintiff in April of this year, almost four and a half months
ago. Therefore, the Court concludes that FxTrade’s conduct is in bad faith, and that it is
intentionally failing to cooperate in the discovery process.

After analyzing the remaining three factors discussed in Freeland, the Court concludes

that dismissal of this action against FxTrade is appropriate By not being able to timely proceed

 

2'I`he Court also recommends that the Answers of both Sibbitt and Mischler should be stricken; however,
Plaintiff has filed separate motions for sanctions with respect to these two Defendants. As such, the Court will enter
two separate report and recommendations to Judge Donald recommending that the Answers of Sibbitt and Mischler
be stricken and that default judgment be entered against Sibbitt and Mischler. The remainder of this report and
recommendation will discuss the lack of cooperation of FxTrade and Reverie.

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Case 2:04-cv-02181-.]PI\/|-tmp Document 143 Filed 08/29/05 Page 6 of 9 Page|D 187

with this lawsuit, Plaintiff has been prejudiced Plaintiff has spent countless hours attempting to
locate discovery materials and filing motions to compel and motions for sanctions with the
Court. Plaintiff cannot begin its depositions of factual or expert Witnesses, and Plaintiff cannot
compose supplemental discovery requests until FxTrade provides complete discovery responses
and initial disclosures to Plaintiff. Furthermore, the Court has imposed lesser sanctions against
FXTrade after it neglected to respond to Plaintiff’s motion to compel FXTrade to provide initial
disclosures and/or revised initial disclosures However, even though the Court has instructed
FxTrade to respond numerous times and has imposed sanctions on FxTrade, it still continues to
ignore Court Orders, refuses to respond to discovery requests, and is delaying these proceedings.
Therefore, the Court concludes no other sanction can persuade FxTrade to actively participate in
this lawsuit.

Because of its repeated failure to cooperate in the discovery process and his bad faith
conduct, the Court recommends that FxTrade’s Answer be stricken. The Court also recommends
that default judgment should be entered against FxTrade.

III. Reverie

After a thorough review of the docket sheet in this matter, the Court notes that Reverie
has not filed an Answer in this case. Plaintiff states that Reverie supplied it With an Answer to
Plaintiff’s First Amended Complaint; however, because no Answer has been filed the Court, the
Court is unable to consider any such document As such, the Court recommends that Judge
Donald hold a Show Cause hearing where Reverie should be required to show cause why it
should not be held in default for failure to timely answer or otherwise respond to Plaintiff’s First

Amended Complaint.

Case 2:04-cv-02181-.]PI\/|-tmp Document 143 Filed 08/29/05 Page 7 of 9 Page|D 188

IV. Defendants’ Payment of Fees and Expenses

For good cause shown and because Defendants did not respond to the instant Motion, the
Court recommends that Defendants should be required to equally share in the payment of any
reasonable fees and expenses, including attorney’s fees, incurred by Plaintiff in the preparation of
the instant Motion. Therefore, if Judge Donald adopts this report and recommendation in full,
Plaintiff’ s counsel shall supply an affidavit to the Court Within 15 days of entry of such an Order
adopting this report and recommendation In the affidavit, Plaintiff’ s counsel shall list the fees
and expenses, including attorney’s fees, incurred in the preparation of the instant Motion for
Sanctions. Defendants should also pay the arnoth listed in the Court’s July 6, 2005 Order, if
they have not already done so.

ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS FROM THE DATE OF SERVICE OF THE REPORT. FAlLURE TO FILE
THEM WITHIN TEN (10) DAYS OF SERVICE MAY CONSTITUTE A WAIVER OF

OB]ECTIONS, EXCEPTIONS, AND FURTHER APPEAL.

<_srrr.;,,,_. firm

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 41me Z?,, ZOOJ/

 

September 7, 2005 to the parties listed.

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Case 2:04-cv-02181-.]PI\/|-tmp Document 143 Filed 08/29/05 Page 9 of 9 Page|D 190

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